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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA


   In re Application of

   LINDA FISCHER

                          Applicant,

   To Issue a Subpoena for the Taking of a
   Deposition and The Production of Documents.


                                  DECLARATION OF LINDA FISCHER

          Linda Fischer, being duly sworn, deposes and says as follows:

          1.      My name is Linda Fischer. I have personal knowledge of the facts and matters

   discussed in the affidavit.

          2.      I am a German citizen and I reside in the United Kingdom. I was born in 1953 to

   two Holocaust survivors. Starting in childhood, I have suffered from a number of debilitating,

   and at times life-threatening, health issues, likely due to my parents’ experiences in the

   Holocaust. My mother was a victim of Joseph Mengele’s human experimentation program, and

   she never fully recovered from the physical and mental trauma of this experience.

          3.      When my father died in 2000, I learned that I would inherit tens of millions

   of dollars. Up to this point, I had been struggling to support myself and my daughter and afford

   my medical expenses. When I found out about my father’s inheritance, I was overwhelmed. I

   turned to my brother, Michael Fischer, for advice and guidance.

          4.      While we were waiting until my father’s estate was sorted out, Michael arranged

   to set up various British Virgin Islands-based holding companies to manage our inheritance.

   Among other things, Michael flew me to the British Virgin Islands to open bank accounts and
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   explained in substance to certain people there that Michael and I were going to be partners in

   business. We also set up bank accounts for these British Virgin Islands companies at Lombard

   Odier in Switzerland. Michael and I decided to be joint signatories on each other’s accounts, in

   case anything happened to either of us.

          5.      I understood and observed that Michael had extensive experience and success

   in prior real estate investments. When we learned about the inheritance, Michael suggested

   pooling some of our resources to make a series of co-investments in real estate. He introduced

   me to Jeffrey Slavet as our family lawyer, and told Slavet that Slavet would be the family lawyer

   for Michael and me, and our families, and watch over me to help us invest, protect my

   investments, and act in my best interests.

          6.      At this time, I was not familiar with financial or real estate investing, and found

   the prospect of investing to be overwhelming. I trusted that Michael knew what he was doing,

   and he promised me he would look out for my interests and grow each of our respective

   family’s assets. We agreed that Michael would select the real estate properties, and subject to

   my agreement, Michael and I would both invest money co-equally and share in the equity and

   profits co-equally. I thought that my brother, and only surviving family member, would do

   everything he could to protect my interests and act as a fiduciary who would look out for me and

   my family, protect me and my family, be honest with me, oversee my money and investments,

   and make sure that he acted in my best interests. Based on everything Michael said to me, I

   trusted him. During these years, I also suffered from health problems and trusted Michael with

   our investments during this time as I did not have the strength to look after my investments.

          7.      Michael and I agreed to jointly invest in a number of specific real estate

   properties. Under our agreement, I partially funded the purchase of multiple properties,




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   including but not limited to two units in a residential cooperative in New York and specific

   properties in South Beach, Florida including but not limited to a Miami apartment

   building. Michael showed me and told me about properties we purchased together, because our

   agreement was I had to agree to the purchase of any of the specific properties before the

   investments were made. Michael ultimately persuaded me to invest at least $5 million dollars in

   various properties. I understood that, per my agreement with Michael, I was a 50% owner of all

   the properties purchased based in substantial part on my money. I trusted my brother and let him

   handle the structure of these investments. In fact, Michael said that I could cash out if I no

   longer wanted to invest.

          8.      I later found out that Michael had not properly recorded my ownership interests in

   most of the properties that I co-invested in with him. I learned certain properties I thought I

   owned, certain of which I spent time living in and using as an owner, were actually owned by a

   complicated web of shell companies that could be traced back to Michael and his associates yet

   had no paper connection to me. I had even spent substantial sums of money on

   property upkeep—and yet all the while these payments were going to an entity that I apparently

   had no record interests in.

          9.      I have tried to uncover the record ownership of these properties but it has not been

   easy. Michael made every effort to prevent me from learning the truth and continued to lie to

   me. People who helped Michael did the same, sometimes outright lying and other times

   misleading me. I have suffered numerous serious medical conditions, including 10 auto immune

   diseases, such as systemic lupus, muscular dystrophy, and relapsing polychondritis. I have

   undergone a number of life threatening surgeries, including multiple heart surgeries and multiple

   back surgeries, that made it physically impossible for me to pursue Michael’s deception.




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            10.   I have since discovered, however, that the properties I thought I owned at least 50

   percent of are owned by holding companies in which I apparently am not a shareholder or

   director—including I understand a company called Lombardy 711, Inc., and Blackstone Equities,

   LLC. I have learned that both of those companies are owned by a British Virgin Islands entity,

   Viterbi Services Ltd., and that there are other British Virgin Islands entities to which my brother

   may have funneled my money. As a result, Michael and his associates have stolen millions of

   dollars in my investments, a lot of money given to Michael as loans for which he never paid me

   back, and all of the increase in the equity value of all our joint real estate investments which

   amount to millions of dollars more.

            11.   I also discovered that, following our initial real estate investments, and during the

   time period which I was very ill and spent a significant amount of time hospitalized and

   bedridden, Michael was secretly wiring millions of dollars out of my bank accounts. Putting

   aside and unrelated to the amounts invested as described above in paragraphs 5 through 8,

   Michael caused at least approximately $5 million to be wired out of our joint accounts into the

   accounts of companies that he owned, including entities that I understand to be based in the

   British Virgin Islands.

            12.   Michael along with his associates, including Jeffrey Slavet and Svetlana

   Astafurova, rebuffed my attempts to get information about my properties and determine the true

   ownership of the properties I invested in and what happened to the stolen money. I have

   subsequently hired private investigators as well as counsel in the British Virgin Islands to

   prepare for litigation in that forum against the entities to which Michael funneled my stolen

   funds.




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